 Case: 1:07-cr-00047-HB-GWB   Document #: 455    Filed: 10/27/08   Page 1 of 9




           IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                      DIVISION OF ST. CROIX


UNITED STATES OF AMERICA            :           CRIMINAL ACTION
                                    :
          v.                        :
                                    :
JAMES A. AUFFENBERG, JR.,           :
et al.                              :           NO. 07-0047


                               MEMORANDUM

Bartle, C.J.                                               October 27, 2008

          On September 30, 2008, a grand jury returned a Third

Superseding Indictment against defendants:          (1) James A.

Auffenberg, Jr.; (2) Auffenberg Enterprises of Illinois, Inc.;

(3) Peter G. Fagan; (4) James W. Ferguson, III; (5) J. David

Jackson; (6) Kapok, Inc.; (7) Kapok Management, L.P.; (8) St.

Clair I, LLC; and (9) St. Clair II Holding V.I., LLC.              This

indictment contains twenty-nine counts.         In short, it alleges

that defendants participated, to varying degrees, in "a scheme to

defraud a legitimate United States Virgin Islands economic

development program and to unlawfully evade taxes by engaging in

financial transactions devoid of any economic substance (sham

transactions) in order to create the illusion of a management

consulting business earning income from services performed within

the Virgin Islands ...."      Third Superseding Indictment ¶ 1.

          Before this court is the motion of defendant Peter G.

Fagan ("Fagan"), to dismiss this indictment based on abuse of the

grand jury process.    Fagan requests in the alternative that we

release grand jury materials to the defense for inspection.               All
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 2 of 9



other defendants except for James Ferguson and David Jackson have

joined in the motion.

                                   I.

          We need not restate the entire history of the case for

purposes of this motion.      Suffice it to say that in March, 2007,

a grand jury in the Southern District of Illinois handed down an

indictment against several defendants, including defendant Fagan.

In July, 2007, the action was transferred to this court.              Shortly

after the transfer, in October, 2007, the government sought and

obtained a Superseding Indictment from a grand jury in St. Croix.

That grand jury issued a Second Superseding Indictment with no

new charges and no new defendants in March, 2008.           Finally, in

October, 2008, the government obtained a Third Superseding

Indictment containing five new counts against Fagan and others

and omitting eleven counts dismissed by the court in August,

2008.

                                   II.

          Rule 6(e)(2)(B)(vi) of the Federal Rules of Criminal

Procedure prohibits attorneys for the government from disclosing

"matter[s] occurring before [a] grand jury."          A government

attorney may, however, disclose such information to government

personnel whom the attorney "considers necessary to assist in

performing that attorney's duty to enforce federal criminal law."

Fed. R. Crim. P. 6(e)(3)(A)(ii).        Once in possession of such

information, these individuals are also subject to the



                                   -2-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 3 of 9



aforementioned duty of secrecy.      Fed. R. Crim. P.

6(e)(2)(B)(vii).

          Fagan's first allegation is that various federal agents

in this case, while conducting interviews of potential witnesses,

improperly disclosed that Kapok and its principals were the

subjects of a grand jury investigation.         The government concedes

that certain agents did make such disclosures to potential

witnesses.   Nonetheless, it argues that the information disclosed

did not constitute a "matter occurring before the grand jury"

under Rule 6(e)(2).    It also contends that whether or not the

rule was violated, defendants suffered no prejudice from the

disclosures and are therefore not entitled to relief.

          Whether disclosure of the identity of the target of a

grand jury investigation constitutes a breach of Rule 6(e)

appears to be unsettled.      Our Court of Appeals has explained that

the "core" of Rule 6(e) "is an obligation on all persons who are

present at grand jury proceedings not to disclose any matters

disclosed at such proceedings."      United States v. Smith, 123 F.3d

140, 148 (3d Cir. 1997).      The government argues that the agents

could not have breached the duty of secrecy as it was described

in Smith because here, no evidence or testimony had even been

presented to the grand jury at the time of the alleged

disclosures.

          We note that one of the main purposes behind the

secrecy surrounding grand jury proceedings is to protect from

unfavorable publicity individuals who ultimately are not

                                   -3-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 4 of 9



indicted.    See United States v. Sells Eng., Inc., 463 U.S. 418,

424 (1983); In re Am. Historical Ass'n, 62 F. Supp. 2d 1100, 1103

(S.D.N.Y. 1999).    Because defendants in this case have been

indicted, that rationale carries little weight here.              For the

reasons stated below, however, we conclude that whether or not a

technical violation of Rule 6(e) occurred,1 defendants are not

entitled to relief because they have not demonstrated prejudice

from the allegedly improper disclosures.

            In Bank of Nova Scotia v. United States, the United

States Supreme Court held that "as a general matter, a district

court may not dismiss an indictment for errors in grand jury

proceedings unless such errors prejudiced the defendants."              487

U.S. 250, 260 (1988).    "The prejudicial inquiry must focus on

whether any violations had an effect on the grand jury's decision

to indict."    Id. at 263.    The indictment should be dismissed only

"[i]f violations did substantially influence this decision, or if

there is grave doubt that the decision to indict was free from

such substantial influence ...."      Id.   Like Fagan, the defendants

in Nova Scotia alleged a disclosure of the identity of a grand

jury target.    The Supreme Court concluded that whether or not



1. Defendants suggest that IRS agents who assisted in this case
may have violated a provision of the Internal Revenue Manual that
prohibits IRS special agents conducting criminal tax
investigations from making any "affirmative statement
characterizing the investigation as being 'criminal' in nature
... except in those instances where this disclosure is necessary
to obtain the information sought." I.R.M. § 9.4.5.11.3.1.4. We
see no reason to address the issue of whether violations of the
Manual occurred.

                                   -4-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 5 of 9



such disclosure constituted a violation of Rule 6(e)(2), the

"alleged breach[] could not have affected the charging decision."

487 U.S. at 259-60.    Consequently, the Court ruled that the

defendants had not met the standard required for dismissal of the

indictment.

          The Nova Scotia case is clearly applicable.             Fagan does

not contend that the alleged revelations in any way compromised

the integrity of the several grand jury votes to indict

defendants on charges of tax fraud.       Because Fagan's allegations

fail to meet the level of prejudice required to dismiss the

indictment, we will deny his motion to dismiss the indictment

based on the statements made by government agents to potential

witnesses.

          Fagan next contends that the government did not comply

with Rule 6(e)(3)(B), which requires a prosecutor "promptly [to]

provide the district court" with the names of assisting

government employees to whom grand jury information was disclosed

pursuant to Rule 6(e)(3)(A)(ii).      Fagan provides no support for

his allegation that this rule was violated beyond "the many years

of experience" of his counsel.      We find this bare accusation

insufficient to warrant a breach of the secrecy to which the

materials at issue are entitled.      As a result, we will not

dismiss the indictment on this basis or grant the requested

discovery.

          Fagan also maintains that beginning in November, 2006

and possibly earlier, IRS Revenue Agents were improperly

                                   -5-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08    Page 6 of 9



permitted to attend witness interviews in this case and were

thereby exposed to secret grand jury information in violation of

Rule 6(e).   Fagan directs us to In re Grand jury Subpoena (Four

Cases), in which the Court of Appeals for the Fourth Circuit held

that the government must maintain an "informational boundary"

with respect to grand jury proceedings where the IRS engages in

parallel avenues of criminal and civil investigation.               920 F.2d

235, 240 n.5 (4th Cir. 1990).      The government responds that the

disclosures to assisting IRS personnel did not violate Rule 6(e)

because no parallel civil investigation exists in this case.

          We agree with the position taken by the government.

"The Rule 6(e) proscription is on the use of the grand jury

material and not on who obtains it."       United States v.

Kilpatrick, 821 F.2d 1456, 1471 (10th Cir. 1987) (citing United

States v. Sells Engineering Inc., 463 U.S. 418, 428 (1983);

United States v. Baggot, 463 U.S. 476, 480 (1983)).               In

Kilpatrick, the Court of Appeals for the Tenth Circuit found that

disclosures of the sort at issue here to IRS agents did not

violate Rule 6(e) because the grand jury process "was not abused

to obtain evidence for civil purposes."         Id.   As in Kilpatrick,

the federal prosecutors here disclosed grand jury matters to IRS

Revenue Agents only to obtain assistance in the criminal

investigation.   Accordingly, we will deny Fagan's motion to

dismiss the indictment in this respect.

          Fagan argues in addition that the government misused

grand jury subpoenas in various ways, including by issuing

                                   -6-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 7 of 9



subpoenas to several witnesses who were questioned by government

agents but who ultimately did not testify before the grand jury.

We find that these instances fall well within the leeway

traditionally accorded to a government attorney "in attempting to

prepare for a grand jury investigation."        United States v.

Elliott, 849 F.2d 554, 556 (11th Cir. 1988).          Moreover,

defendants have not shown that any alleged violation resulted in

the degree of prejudice required to dismiss the Indictment.              See

United States v. Martino, 825 F.2d 754, 759 (3d Cir. 1987).

                                  III.

          Separate from his allegations of improper disclosures,

Fagan contends that the government misused testimonial summaries

before the grand jury.    We note initially that the use of hearsay

evidence is generally permitted in grand jury proceedings.              See

Costello v. United States, 350 U.S. 359, 363 (1956).              Our Court

of Appeals has explained that an indictment based on hearsay must

be dismissed only where:

          (1) non-hearsay evidence is readily
          available; (2) the grand jury is misled into
          believing it was hearing direct testimony
          rather than hearsay; and (3) there is high
          probability that had the grand jury heard the
          eye witness it would not have indicted.

United States v. Wander, 601 F.2d 1251, 1260 (3d Cir. 1979)

(quoting United States v. Cruz, 478 F.2d 408, 410 (5th Cir.

1975)).   Moreover, the United States Supreme Court has held that

even presentation of misleading and inaccurate summaries does not




                                   -7-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455   Filed: 10/27/08   Page 8 of 9



entitle a defendant to relief in the absence of knowing

prosecutorial misconduct.     See Nova Scotia, 487 U.S. at 261-62.

            We have reviewed in camera the contents of the

government's presentations to the grand jury sitting in St. Croix

that issued the superseding indictments in this case.             The

evidence included summary presentations of live testimony given

before the grand jury in the Southern District of Illinois that

issued the original indictment.      Transcripts of the actual

testimony were made available for inspection by the grand jury

but were not read into the record.       The government also presented

the grand jury with binders containing hundreds of exhibits, such

as financial records, correspondence, and documents filed by

defendants with the government.

            Despite the substantial use of summaries in obtaining

these superseding indictments, there is no indication that the

government misled the grand juries with respect to the verbatim

testimony previously presented.      Nor is there anything before us

to show that the grand juries would not have issued the

indictments had the witnesses testified in person on every

occasion.   Accordingly, we will deny Fagan's motion to dismiss

the indictment on this basis.

                                   IV.

            As noted above, Fagan requests disclosure of grand jury

materials to the defense for inspection in the event that we

decline to dismiss the indictment.       "The decision to permit

disclosure is within the discretion of the trial court judge who

                                   -8-
 Case: 1:07-cr-00047-HB-GWB   Document #: 455    Filed: 10/27/08    Page 9 of 9



must assess whether the need for disclosure overbalances the

requirements of secrecy."     United States v. Mahoney, 495 F. Supp.

1270, 1272 (E.D. Pa. 1980).     In United States v. Proctor & Gamble

Co., the United States Supreme Court held that grand jury secrecy

"must not be broken except where there is a compelling

necessity."    356 U.S. 677, 682 (1958).        "The burden is on the

party seeking disclosure to show a particularized need for that

disclosure."    Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211,

222 (1979).    Where, as here, however, "the grand jury has

completed its work ... the burden on the movant to show a

particularized need is also lessened."          Mahoney, 495 F. Supp. at

1273 (citing Douglas Oil, 441 U.S. at 222).

          We have already granted a previous motion in this case

for in camera review of the grand jury materials at issue.                Fagan

demonstrates no particularized need for disclosure of the grand

jury materials beyond what we have already ordered, and our in

camera review has revealed no additional support for his request.

We will deny his motion to dismiss insofar as he seeks disclosure

to the defense of the grand jury materials.

                                   V.

          To the extent that Fagan raises other challenges to the

indictments in his motion, we find them meritless.             In

conclusion, we will deny Fagan's motion to dismiss the indictment

or in the alternative to compel disclosure of additional grand

jury materials.
